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UNITED STATES. DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
THOMAS STALLWORTH and
WILLIE MAE STALLWORTH,
Plaintiffs,
vs. CASE NO.: 3:06CV89MCR/EMT

THE HARTFORD INSURANCE COMPANY,
a Delaware corporation,

Defendant.

/

MOTION FOR PHYSICAL EXAMINATION OF PERSONS PURSUANT
TO FEDERAL RULE OF CIVIL PROCEDURE 35(a)

Defendant, THE HARTFORD INSURANCE COMPANY, by and through its
undersigned counsel, hereby moves pursuant to Federal Rule of Civil Procedure 35(a) for an
Order permitting the physical examination of the Plaintiffs, THOMAS STALLWORTH and
WILLIE MAE STALLWORTH, and in support thereof states as follows:

1, The Stallworths have filed an action for physical injuries arising out of a motor
vehicle accident against their uninsured-motorist.carrier.. In her recently answered
Interro gatories, WILLIE MAE STALLWORTH complains of a cervical strain and pain in the
middle of her back. Plaintiff, THOMAS STALLWORTH complains of, inter alia, cervical
strain, neck pain and lower and upper back pain.

2. The physical condition of the Stallworths is going to be a central element of this
case. In order to properly prepare this case for trial, this Defendant is in need of a physical

examination of the Plaintiffs by an orthopedist.

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3. Although this matter is currently pending in Pensacola, the Plaintiffs actually
reside in Houston, Texas. This Defendant has arranged for these physical examinations to take
place in Houston, Texas. The information on these arranged examinations is as follows:

Monday, March 12, 2007 at 9:30 a.m.

Dr. Bruce Weiner

12930 East Freeway

Houston, TX 77015.

(713) 453-6909

The doctor’s office has arranged to do these examination one after the other.

WHEREFORE, this Defendant would respectfully request this Court to issue an order
pursuant to Federal Rules of Civil Procedure 35(a) ordering that the Plaintiffs undergo a physical

examination.

MEMORANDUM OF LAW

Plaintiffs in this cause, THOMAS and WILLIE MAE STALLWORTH, have put their -
physical conditions at issue in this cause. In fact, this is a personal injury action arising from an
automobile accident. The physical injuries sustained by the Plaintiffs, if any, are the primary
focus of this litigation. In order for this Defendant to properly assess the nature and extent of
any claimed injuries, it will be necessary for them to have the Plaintiffs examined by a licensed
physician. See Fed. R. Civ. Pro. 35(a). Further, a review of the Plaintiffs’ complaint in this
action will reveal that they have claimed that they “received serious painful and disabling bodily
injuries as a result of an automobile accident which occurred in Escambia County, Florida.”
(See original Complaint, paragraph 7) When Plaintiffs assert physical injuries arising from a
motor vehicle accident, they have placed their physical condition in controversy. Such
allegations provide the Defendant with good cause to request a physical examination to

determine the nature and extent of such injuries. See Cook v. Pizza Hut of America, Inc., 2006

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W.L. 1529775 (M.D. Fla. 2006) (“Here, by asserting physical injuries resulting from an accident
in which he was struck by a motor vehicle driven by Defendant’s employee, Plaintiff has placed
his physical condition in controversy and provided Defendant with good cause for an
examination to determine the existence and extent of his asserted injuries.”)

WHEREFORE, it is respectfully requested that this Court issue an order requiring

the Plaintiffs to submit to a physical examination on the date and time set forth above.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on February 12, 2007, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system. I further certify that I mailed the foregoing
document and the notice of electronic filing by first-class mail to the following non-CM/ECF
participants: Thomas Stallworth and Willie Mae Stallworth, P. O. Box 941148, Houston, TX,

77094.
COLE, SCOTT & KISSANE, P.A.

/s/ Joseph T. Kissane
JOSEPH T. KISSANE
Florida Bar No. 512966

1805 Copeland Street
Jacksonville, FL 32204
Telephone: 904-399-2900
Facsimile: 904-399-2110
joseph. kissane@csklegal.com
Attorney for Defendants

